               Case 2:21-mj-04396-DUTY Document 1 Filed 09/21/21 Page 1 of 1 Page ID #:1

                                                                                          FIL€D


                                                                                   1bt1 SAP 2 I P~4 ~2~ 34


                                    UNITED STATES DISTRICT COUR~'1 ~~ ~_~
                                   CENTRAL DISTRICT OF CALIFORNIA       ~~~ ~ y~
 UNITED STATES



                            v.

 BONIER,CARRINGTON
                                                                          DECLARATION RE
                                          DEFENpANT(s).               OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by:COMPLAINT
in the SOUTHERN                        District of NEW YORK                              an 09-08-2021
at               ~ a.m./ p p.m. The offense was allegedly committed on or about o9-20-2021
in violation of Title 18                            U.S.C., Sections) 1621 PERJURY
to wit: SOUTHERN NEW YORK

A warrant for defendant's arrest was issued by: HONORABLE DEBRA FREEMAN

Bond of$                               was ❑set /~ recommenced.

Type of Bond:

Relevant documents} on hand (attach):



I declare under penalty of perjury that the foregoing is true and correct.

Executed on        09-21-2021
                      Date


                                                              WILLIAMS L.
Signature of Agent                                            Print Name of Agent


USMS                                                          DEPUTY
Agency                                                        Title




CR-52(03/20)                          DECLARATION ItE OUT-OF-DIS'Y'RiCI' WARRANT
